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AO 93 (Rev. 12/09) Search and Seizure Warrant

UNITED STATES DISTRICT COURT
il

for the
District of New Mexico CLERK-LAS CRUCES
In the Matter of the Search of )
(Briefly describe the property to be searched ) Ge -~S
or identify the person by name and address) ) Case No. mix V\ =\ >
17 Concord Rd.
Roswell, New Mexico 88230 )

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer
An application by a federal law enforcement officer or an attorney for the government requests the search

of the following person or property located in the District of New Mexico
(identify the person or describe the property to be searched and give its location):

 

See Attachment A-1, incorporated herein by reference.

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):
See Attachment B, incorporated herein by reference.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before WE “7 2 ZL 20 / 7
(not to exceed 14 days)
M in the daytime 6:00 a.m. to 10 p.m. 1 at any time in the day or night as I find reasonable cause has been
established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an

inventory as required ee and promptly return . ee and inventory to United States Magistrate Judge
ae thay L FORA rT

 

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© I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (for days (not to exceed 30).

Oluntil, the facts justifying, the later specific date of

Date and time issued: 06/18/2019 3:30 pm

 

 

udge 's signature

~ Gregory Fouratt’

City and state: Las Cruces, New Mexico t/ U.S. Magistrate Judge

ss  — ———

Printed name and title
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Return

 

Case No.: Date and time warrant executed:

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Copy of warrant and inventory left with:
AY vesidoniee 17 concord vA. dormell

 

Inventory made in the presence of :
HSI Special Agent, Victor M. Tellez

 

Inventory of the property taken and name of any person(s) seized:

Ol- Wisc documents
ol - LG aul ere

O3- Black Hp phome
Ou Mo tovola F\ip preme

05 silwo 6 col( Bom,
Db - Black sae ce\( phono
OF- 2B Woke hoe 5 | LeAgnes

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant

to the designated judge.

Date: [¢/|@% 2014

Sti

Exegating officer's signature

Victor M. Tellez HSI Special Agent

 

Printed name and title

 

 
 

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ATTACHMENT A
SUBJECT PREMISES

The Subject Premises is located at 17 Concord Rd., Roswell, New Mexico. The property is fenced
with a chain link wire fencing. The Subject Premises is comprised of multiple structures. The primary
structure is a single residential dwelling. The dwelling has a brown roof, brownish red brick exterior, with
the front door facing to the south. Southeast of the dwelling is a white outbuilding with a window facing
west. South of the outbuilding are two tan sheds. South of the single residential dwelling is a white travel
trailer. Multiple abandoned vehicles are located in the Subject Premise along with a box trailer. The

following photographs show a view of the Subject Premises; not to include all outbuildings and vehicles

located on the property constituting the Subject Premises.

 
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ATTACHMENT B
ITEMS TO BE SEIZED

1. The following records, documents, and items that constitute evidence, contraband, fruits of
crime, other items illegally possessed, and property designed for use, intended for use, or used
in, violations of Title 8 U.S.C.§§ 1324(1)(A)(iii), relating to evidence of smuggling and
harboring undocumented aliens, in any form wherever it may be stored or found including,

but not limited to:

a. Documents and articles of personal property evidencing the smuggling or harboring of
aliens, including: ledgers, customer lists, counterfeit or genuine immigration
documents, telephone/address books or notebooks containing the names of individuals

involved in alien smuggling or harboring of aliens.

b. Cash, checks, or other monetary instruments obtained from alien smuggling or
harboring, only to the extent that there are actual receipts or proof that the funds are
from these illegal activities. Bank accounting or other financial records which are

records of earning or payments relating to alien smuggling or harboring of aliens.

c. Counterfeit, genuine, or altered immigration or social security documents including
counterfeit, genuine, or altered alien registration receipts, cards including, but not
limited to Forms [-551, I-151, I-586, I-688, 1-688A, I-688B and I-94; and counterfeit,

genuine, or altered social security cards.

d. Any passwords, PIN numbers, encryption programs, or other data security devices

necessary to gain access to related computers or cell phones.

e. All documents tending to show occupancy and/or ownership of the home, including
personal identification, bills, receipts, canceled mail, utility bills, rent receipts and

bank statements.

f. Any computers (including file servers, desktop computers, laptop computers;

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mainframe computers and storage devices such as hard drives, zip disks, CD-ROMs,
DVDs and floppy disks, personal digital assistants and cell phones) that were or may
have been used to get the information listed in items a-e above. Cellular telephones
and their contents, including phone book or contact lists, call history, text messages
and logs, audio/video files, voice mail messages, photographs and any other material
stored on the cellular telephones that may constitute the listed items a-e above or

contain evidence related to the offense.

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